      Case: 1:18-cv-04678 Document #: 129 Filed: 01/31/22 Page 1 of 4 PageID #:814




                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 NIKKI PARHAM, individually and on behalf
 of her minor child, B.M.,                               18-cv-04678

      Plaintiffs,                                        Honorable Charles R. Norgle, Sr.

 v.                                                      Magistrate Judge M. David Weisman

 LAKEVIEW LOAN SERVICING, LLC and
 CENLAR FSB,

      Defendants.

                                     JOINT STATUS REPORT

         Pursuant to the Court’s December 15, 2021 Order (Dkt. 125), the Parties submit the

following Joint Status Report:

         1.         Pending Motions: None.

         2.         Status of Discovery:

                      a. Fact Discovery Deadline: March 30, 2022 (current). The Parties

                          anticipate filing an agreed motion seeking an extension of the deadline

                          through April 30, 2022 because the parties dedicated substantial time to

                          ultimately unsuccessful settlement efforts.

                      b. Written Discovery: the Parties have substantially completed written

                          discovery. Plaintiffs will be requesting discovery conferences with all

                          Defendants in very short order. The Parties have worked amicably

                          together from the inception of the case and will work in good faith to

                          resolve any discovery issues without court intervention.




                                                    1
    Case: 1:18-cv-04678 Document #: 129 Filed: 01/31/22 Page 2 of 4 PageID #:815




                     c. Oral Discovery:1

                              a. Completed Depositions:

                                       i. Plaintiffs.

                                      ii. Dr. Phitsanuwong.

                              b. Scheduled Depositions:

                                       i. Dr. Shawn Brickner: Confirmed for February 8, 2022.

                                      ii. Masterbuilt Construction, Inc.: Confirmed for March 3,

                                           2022.

                                     iii. Five Brothers Mortgage Company Services and Securing,

                                           Inc.: Confirmed for March 14, 2022.

                                      iv. Cenlar: Confirmed for March 28, 2022.

                              c. Anticipated Depositions:

                                       i. Tommy Smith;

                                      ii. Craig Bizar;

                                     iii. Mabel Parham;

                                     iv. Patricia Banks;

                                      v. Gloria Crump;

                                     vi. Danielle Parham;

                                     vii. Taylor Martin;

                                    viii. Paris Parham;




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 The Parties appeared for a settlement conference on December 13, 2021. The Parties were unable to reach
a settlement. In an effort to reduce the costs of litigation and increase the chances of settlement, the Parties
agreed to hold off on Defendants’ depositions until after the settlement conference.



                                                        2
   Case: 1:18-cv-04678 Document #: 129 Filed: 01/31/22 Page 3 of 4 PageID #:816




                                 ix. Keisha Parham.

       3.     Suggested Trial Date:

              a. Plaintiffs: In light of the fact that the case was filed in 2018, Plaintiffs are

                 requesting the first available trial date in August 2022.

              b. Defendants: Dispositive motions are due to be filed on May 31, 2022. All

                 defendants anticipate filing dispositive motions on each of the eight counts of

                 the complaint directed against them. Dispositive motion briefing is scheduled

                 to be completed on July 5, 2022. To provide sufficient time for the Court to

                 resolve Defendants’ dispositive motions in advance of trial, Defendants propose

                 a trial date of January 30, 2023. Moreover, while Plaintiffs are correct that the

                 case was filed in 2018, two of the Defendants, Five Brothers and Masterbuilt,

                 were not added to the case until March, 2020.

       4.     Other Issues that Need Court’s Attention: None



Dated: January 31, 2022

 PLAINTIFFS                                       LAKEVIEW LOAN SERVICING, LLC AND
                                                  CENLAR FSB

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                                                 3
   Case: 1:18-cv-04678 Document #: 129 Filed: 01/31/22 Page 4 of 4 PageID #:817




FIVE BROTHERS                                     MASTERBUILT
MORTGAGE COMPANY SERVICES                         CONSTRUCTION, INC.
AND SECURING, INC.

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                                        4
